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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

v.                                        Case No. 1:19cr22-MW/GRJ-2

CARL LEE WHITE,

          Defendant.
__________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 102, to which there has been no timely objection, and subject to this

Court’s consideration of the plea agreement pursuant to Fed. R. Crim. P. 11(e)(2),

the plea of Guilty of the Defendant to Counts One, Three, Four, Five and Six of the

Superseding Indictment against him is hereby ACCEPTED. All parties shall appear

before the Court for sentencing as directed.

      SO ORDERED on July 22, 2020.


                                       s/ MARK E. WALKER
                                       Chief United States District Judge
